     Case 2:14-cv-05021-MRW Document 1 Filed 06/27/14 Page 1 of 5 Page ID #:1



1 DOLL AMIR & ELEY LLP
  HUNTER R. ELEY (SBN 224321)
2 heley@dollamir.com
3 CHELSEA L. DIAZ (SBN 271859)
  cdiaz@dollamir.com
4 1888 Century Park East, Suite 1850
  Los Angeles, California 90067
5 Tel: 310.557.9100
  Fax: 310.557.9101
6
7 Attorneys for Defendant
  CAPITAL ONE, N.A.,
8 erroneously sued as
  Capital One (USA), N.A.
9
10                        UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12
13 MARTY FREYWALD, an individual,              Case No.
14         Plaintiff,                          DEFENDANT’S NOTICE OF
15 v.                                          REMOVAL OF ACTION TO THE
                                               UNITED STATES DISTRICT
16 CAPITAL ONE (USA) N.A., and DOES            COURT FOR THE CENTRAL
   1-50, inclusive,                            DISTRICT OF CALIFORNIA
17                                             UNDER 28 U.S.C. § 1441(a), 28 U.S.C.
                Defendants.                    §1331 (FEDERAL QUESTION) and
18
                                               28 U.S.C. § 1367(a)
19                                             (SUPPLEMENTAL JURISDICTION)
20                                             [Filed concurrently with Civil Cover
                                               Sheet and Notice of Interested Parties]
21
22                                             [Ventura County Superior Court Case
                                               No. 56-2014-00450953-CU-PO-VTA]
23
                                               FAC Filed:      April 10, 2014
24                                             Trial Date:     TBD
25
26
27
28


                                    NOTICE OF REMOVAL
                               Case 2:14-cv-05021-MRW Document 1 Filed 06/27/14 Page 2 of 5 Page ID #:2



                           1          TO THE CLERK OF THE ABOVE-CAPTIONED COURT AND ALL
                           2 PARTIES AND THEIR ATTORNEYS OF RECORD:
                           3          PLEASE TAKE NOTICE THAT defendant Capital One, N.A., erroneously
                           4 sued as Capital One (USA), N.A., (“Capital One”) hereby invokes this Court’s
                           5 jurisdiction under the provisions of 28 U.S.C. § 1441(a), 28 U.S.C. § 1331 and 28
                           6 U.S.C. § 1367(a), and removes this action from state court to federal court pursuant to
                           7 28 U.S.C. § 1446(b).
                           8 A.       JURISDICTION
                           9          1.   Capital One specifically alleges that this Court has federal question
                          10 jurisdiction over this action pursuant to 28 U.S.C. §§ 1441(a) and § 1331 because
                          11 Plaintiff Marty Freywald (“Plaintiff”) commenced an action in the Superior Court of
                          12 California for the County of Ventura styled Freywald v. Capital One (USA) N.A.,
D OLL A MIR & E LEY LLP




                          13 Case No. 56-2014-00450953-CU-PO-VTA (“State Court Action”), alleging a cause of
                          14 action arising under the federal Telephone Consumer Protection Act (“TCPA”),
                          15 codified at 47 U.S.C. § 227, which is a law of the United States. Further, the Court
                          16 has supplemental jurisdiction over the state law causes of action alleged in the First
                          17 Amended Complaint pursuant to 28 U.S.C. § 1367(a).
                          18 B.       STATEMENT OF THE CASE
                          19          2.   On March 26, 2014, Plaintiff filed a Complaint in the Superior Court of
                          20 California for the County of Ventura, thereby commencing the State Court Action.
                          21 Shortly thereafter, on April 10, 2014, Plaintiff filed a First Amended Complaint
                          22 (“FAC”) in the State Court Action.
                          23          3.   On May 30, 2014, Plaintiff’s counsel sent counsel for Capital One a
                          24 Notice of Acknowledgement and Receipt, which counsel for Capital One executed
                          25 and returned to Plaintiff’s counsel on June 2, 2014. While Plaintiff’s counsel initially
                          26 sent the Notice to Capital One with a version of the FAC that did not include all
                          27 relevant pages, Capital One subsequently received a full and complete copy of the
                          28 FAC and confirmed with Plaintiff’s counsel that the Notice executed on June 2, 2014

                                                                         1
                                                                 NOTICE OF REMOVAL
                               Case 2:14-cv-05021-MRW Document 1 Filed 06/27/14 Page 3 of 5 Page ID #:3



                           1 would constitute effective service of the full and complete FAC. Pursuant to 28
                           2 U.S.C. § 1446(a), a true and correct copy of all process, pleadings and orders served
                           3 upon Capital One in this case is attached hereto as Exhibit A, which includes copies of
                           4 the original Complaint and the current operative complaint identified as the FAC, as
                           5 well as the executed Notice of Acknowledgement and Receipt and e-mail confirming
                           6 service of the full and complete FAC.
                           7          4.   Plaintiff asserts four causes of action in his FAC against Capital One.
                           8 Those causes of action include: (1) violations of the California Fair Debt Collection
                           9 Practices Act (“Rosenthal Act”), codified at Cal. Civ. Code § 1788, et seq.; (2)
                          10 Intrusion on Seclusion; (3) Negligence; and (4) violations of the TCPA.
                          11 C.       BASIS FOR REMOVAL
                          12          5.   This Court has jurisdiction over this Action pursuant to 28 U.S.C. § 1331
D OLL A MIR & E LEY LLP




                          13 because Plaintiff alleges a TCPA cause of action, which is a law of the United States.
                          14          6.   Specifically, Plaintiff’s FAC alleges that Capital One has violated the
                          15 federal TCPA by using an “automatic telephone dialing system” to telephone Plaintiff
                          16 without his consent. See FAC, ¶ 32. Therefore, adjudication of Plaintiff’s Complaint
                          17 requires an analysis and construction of federal law. Thus, this Action is one which
                          18 may be removed to this Court by Capital One pursuant to 28 U.S.C. § 1441(a) and §
                          19 1331 because this Court would have had original jurisdiction founded on Plaintiff’s
                          20 claims arising under the TCPA.
                          21          7.   Additionally, this Court has supplemental jurisdiction over the remaining
                          22 state law claims, because they “form part of the same case or controversy.” 28 U.S.C.
                          23 § 1367(a). A state claim is part of the same case or controversy if it shares a
                          24 “common nucleus of operative fact” with the federal claim, and if they would
                          25 normally be tried together. See, e.g., Trustees of the Constr. Indus. & Laborers
                          26 Health & Welfare Trust v. Desert Valley Landscape Maint., Inc., 333 F. 3d 923, 925
                          27 (9th Cir. 2003). The facts related to Plaintiff’s state law claims are intertwined with
                          28 and based upon Plaintiff’s allegations of wrongdoing under the federal claim arising

                                                                          2
                                                                 NOTICE OF REMOVAL
                               Case 2:14-cv-05021-MRW Document 1 Filed 06/27/14 Page 4 of 5 Page ID #:4



                           1 under the TCPA. Specifically, like Plaintiff’s claims arising under the TCPA, the
                           2 state law causes of action involve Plaintiff’s allegation that Capital One made
                           3 improper debt collection calls to Plaintiff. The Court should therefore extend
                           4 supplemental jurisdiction over each of Plaintiff’s state law claims.
                           5 D.       ALL PROCEDURAL REQUIREMENTS FOR REMOVAL HAVE BEEN
                           6          SATISFIED.
                           7          8.    Removal is timely. Removal of this action is timely. As set forth on the
                           8 Notice, service is deemed complete on the day the Notice is signed. Here, the Notice
                           9 was received by Capital One on May 30, 2014 and executed on Capital One’s behalf
                          10 on June 2, 2014. Therefore, this Notice of Removal is “filed within thirty [30] days
                          11 after receipt by the defendant, through service . . . of a copy of [Plaintiff’s Summons
                          12 and FAC]” in accordance with the time period mandated by 28 U.S.C. §1446(b).
D OLL A MIR & E LEY LLP




                          13          9.    No Consent Necessary. Capital One is the only named defendant in the
                          14 FAC and, therefore, no consent of additional parties is required.
                          15          10.   Removal to Proper Court. Venue lies in the United States District Court
                          16 for the Central District of California pursuant to 28 U.S.C. §1441(a) because the
                          17 Action was filed in this District.
                          18          11.   Pleadings and Process. As stated above, pursuant to 28 U.S.C. § 1446(a),
                          19 a true and correct copy of all process, pleadings and orders received by Capital One in
                          20 the State Court Action are attached hereto as Exhibit A.
                          21          12.   Notice. Written notice of the filing of this Notice of Removal will be
                          22 promptly served upon Plaintiff. Capital One will also promptly file a copy of this
                          23 Notice with the Clerk of the Superior Court of California, County of Ventura.
                          24 E.       CONCLUSION
                          25          13.   By this Notice of Removal and the associated attachments, Capital One
                          26 does not waive any objections it may have as to service, jurisdiction or venue, or any
                          27 other defenses or objections it may have to this action. Capital One intends no
                          28 admission of fact, law or liability by this Notice, and it expressly reserves all defenses,

                                                                          3
                                                                  NOTICE OF REMOVAL
                               Case 2:14-cv-05021-MRW Document 1 Filed 06/27/14 Page 5 of 5 Page ID #:5



                          1 motions and/or pleas. Capital One prays that the State Court Action now pending
                          2 against it in the Superior Court of the State of California, County of Ventura be
                          3 removed therefrom to this Court.
                          4
                          5 DATED: June 27, 2014                    DOLL AMIR & ELEY LLP
                          6
                          7                                         By: /s/ Chelsea L. Daiz
                          8                                            Chelsea L. Diaz
                                                                       Attorneys for Defendant
                          9                                            CAPITAL ONE, N.A., erroneously sued as
                          10                                           Capital One (USA), N.A.

                          11
                          12
D OLL A MIR & E LEY LLP




                          13
                          14
                          15
                          16
                          17
                          18
                          19
                          20
                          21
                          22
                          23
                          24
                          25
                          26
                          27
                          28

                                                                        4
                                                               NOTICE OF REMOVAL
